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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

________________________________________________
                                                  )
IN RE SUBPOENA OF JAMES COMEY BY                  )
AUTHORITY OF THE HOUSE OF                         ) Case No. 18-mc-174-TNM
REPRESENTATIVES OF THE CONGRESS OF THE            )
UNITED STATES OF AMERICA                          )
                                                  )



 RESPONSE OF THE COMMITTEE ON THE JUDICIARY OF THE U.S. HOUSE OF
  REPRESENTATIVES IN OPPOSITION TO JAMES B. COMEY’S MOTION TO
                  QUASH AND MOTION FOR A STAY

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November 30, 2018




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                                        INTRODUCTION

       Without even bothering to cite controlling adverse authority or follow the most basic

procedural requirements for initiating a new civil action, Mr. Comey brazenly demands that this

Court issue an order quashing a congressional subpoena directed to him – a request for relief so

extraordinary and frivolous that, as far as undersigned counsel is aware, no district court in the

history of the Republic has ever granted such a request. Although one would not know it from

reading Mr. Comey’s papers, the Supreme Court has spoken unequivocally on this question: “the

Speech or Debate Clause provides complete immunity … for issuance of this subpoena.”

Eastland v. U. S. Servicemen’s Fund, 421 U.S. 491, 507 (1975). Mr. Comey cannot evade the

Supreme Court’s squarely controlling precedent by failing to cite it.

       Putting aside the procedural and constitutional infirmities of Mr. Comey’s ill-conceived

litigation, Mr. Comey has identified no colorable basis to object to his deposition. Instead, he

wishes to dictate the terms of his appearance by demanding a public hearing. “It is

unquestionably the duty of all citizens” – including Mr. Comey – “to cooperate with the

Congress,” and it is his “unremitting obligation to respond to subpoenas, to respect the dignity of

the Congress and its committees and to testify fully with respect to matters within the province of

proper investigation.” Watkins v. United States, 354 U.S. 178, 187-88 (1957). Try as he might,

Mr. Comey may not condition his cooperation with a congressional investigation on the presence

of television cameras. No other witness involved in this investigation has made such a grandiose

demand, and this Court should not countenance Mr. Comey’s temerity in attempting to dictate

the terms on which he will deign to comply with his constitutional obligations.




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                                        BACKGROUND

         The House Committee on the Judiciary (“Committee”) has been a standing committee of

the U.S. House of Representatives since 1813. It is vested with the authority, among other

things, to oversee the administration of justice within the federal courts, administrative agencies,

and federal law enforcement entities. House Rule X, cl. 1(l). The Committee’s Oversight Plan

for the 115th Congress, adopted pursuant to House Rule X, cl. 2(d), includes “review [of] the

mission and operations of all agencies and programs within its jurisdiction as it prepares to

reauthorize components of the Department[] of Justice,” as well as oversight and investigative

activities into the Department of Justice (“DOJ”), “including all Department components and

agencies.” Comm. on the Judiciary Authorization and Oversight Plan at 13 (Feb. 15, 2017). 1

With respect to the FBI specifically, the Committee’s “leadership” and “support” play an

important role in ensuring the Bureau meets its mission. See Statement of James B. Comey,

Director, Fed. Bureau of Investigation, Hearing on Oversight of the Federal Bureau of

Investigation Before the H. Comm. on the Judiciary (Oct. 22, 2015). 2

         Partisanship at DOJ has long been a concern of Congress. Indeed, the last Committee

subpoena that was the subject of litigation involved concerns that “partisan political

considerations at the Department of Justice … undermined the fair and impartial administration

of the federal criminal justice system.” Comm. Mot. for Partial Summ. J. (ECF 14) at 1, Comm.

on Judiciary v. Miers, 558 F. Supp. 2d 53 (D.D.C. 2008) (No. 08-cv-409). Nearly a decade later,

Congress has been forced to confront those concerns again. Specifically, in the months leading




1
    Available at https://judiciary.house.gov/wp-content/uploads/2013/07/1551_001.pdf.
2
    Available at https://judiciary.house.gov/wp-content/uploads/2016/02/FBI05.doc.pdf.


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up to the 2016 presidential election, DOJ engaged in several actions that are a matter of intense

public interest and debate, including:

    •     The “FBI’s decision to publicly announce the investigation into Secretary Clinton’s
          handling of classified information but not to publicly announce the investigation into
          campaign associates of then-candidate Donald Trump”;

    •     The “FBI’s decision to notify Congress by formal letter of the status of the investigation
          both in October and November of 2016”;

    •     The “FBI’s decision to appropriate full decision making in respect to charging or not
          charging Secretary Clinton to the FBI rather than the DOJ”; and

    •     The “FBI’s timeline in respect to charging decisions.”

See Press Release, H. Comm. on the Judiciary, Goodlatte, Gowdy Open Investigation into

Decisions Made by DOJ in 2016 (Oct. 24, 2017). 3

          Consistent with the Committee’s Oversight Plan and its jurisdiction under House Rules,

on October 24, 2017, the Committee opened a joint investigation with the House Committee on

Oversight and Government Reform (“OGR”) into these 2016 actions by DOJ and the FBI.

Somers Decl. ¶ 3. As part of this joint investigation, the Committee has interviewed or deposed

16 witnesses and reviewed numerous records. Somers Decl. ¶ 5. Now that the Committee has

largely concluded the interviews of lower-level FBI personnel, it is imperative that the

Committee speak with Mr. Comey, the former FBI Director, to conclude its investigation and

report its findings to the American people by the close of the 115th Congress. Somers Decl.

¶¶ 6-9.

          On September 10, 2018, Committee staff contacted Mr. Comey’s counsel to request an

interview, at which time counsel was informed about the scope of the investigation. On

September 21, 2018, Chairmen Goodlatte and Gowdy reiterated their request by letter to Mr.


3
 Available at https://judiciary.house.gov/press-release/goodlatte-gowdy-open-investigation-
decisions-made-doj-2016/.


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Comey’s counsel. Somers Decl. ¶ 10. Counsel indicated that Mr. Comey would not agree to an

interview and demanded a hearing instead. Somers Decl. ¶ 11. On November 16, the

Committee informed counsel that Mr. Comey must appear for a deposition. Somers Decl. ¶ 12.

Following further discussions between the parties, the Committee informed Mr. Comey’s

counsel that the deposition date would be the week of December 3. Id. This date was chosen to

accommodate a personal commitment of Mr. Comey. Id. The subpoena was formally issued by

the Committee on November 21. Somers Decl. ¶ 13.

        Unfortunately, Mr. Comey has refused to cooperate with the Committee’s investigation

unless it accedes to his unreasonable and baseless attempt to dictate the procedures to be

followed by the Committee. Specifically, Mr. Comey objects to his appearance at a “closed-door

deposition,” insisting that he prefers to appear at a public hearing. See Mot. to Quash at 1-2. For

this reason, he has filed the instant motions to quash and stay his pending deposition.

                                           ARGUMENT

   I.   THE MOTION TO QUASH IS PROCEDURALLY DEFECTIVE

        Mr. Comey’s motion to quash suffers from numerous procedural defects that compel its

summary denial.

        First, Mr. Comey’s filing fails to comport with Rule 3 of the Federal Rules of Civil

Procedure, which requires that civil actions be “commenced by filing a complaint with the

court.” Fed. R. Civ. P. 3. Relatedly, Mr. Comey has failed to satisfy the requirements of Rule 8,

as his papers do not contain a “short and plain statement of the grounds for the court’s

jurisdiction,” or a “short and plain statement of the claims showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(1), (2). Mr. Comey appears to be operating on the misguided

assumption that he need not comply with the requirements for commencing a civil action

because he is challenging a subpoena, but the subpoena he is attempting to quash is not a grand


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jury or civil discovery subpoena issued under the authority of the Court; rather, it is a

congressional subpoena issued under the constitutional authority of a separate and co-equal

branch of government. Given the absence of any statute, rule, or other provision of law

authorizing this form of proceeding or establishing the jurisdiction of this Court over a

congressional subpoena, Mr. Comey’s motion is entirely improper and baseless. 4

       In addition, Mr. Comey’s motion to quash is barred by the doctrine of sovereign

immunity. “The United States, as sovereign, is immune from suit save as it consents to be sued,

and the terms of its consent to be sued in any court define that court’s jurisdiction to entertain the

suit.” United States v. Sherwood, 312 U.S. 584, 586 (1941) (citations omitted); see also Jackson

v. United States, 751 F.3d 712, 716 (6th Cir. 2014). This immunity extends to the House and

Senate as institutions, as well as their component parts such as congressional committees. See

Rockefeller v. Bingaman, 234 F. App’x 852, 855 (10th Cir. 2007) (“[S]overeign immunity

forecloses [Plaintiff’s] claims against the House of Representatives and Senate as institutions,

and [against an individual Representative and Senator] as individuals acting in their official

capacities.” (quotation marks and citation omitted)); Keener v. Congress, 467 F.2d 952, 953 (5th

Cir. 1972) (per curiam) (similar). 5




4
  For this same reason, Mr. Comey’s reliance on Rhines v. Walker, 544 U.S. 269 (2005) and
Landis v. N. Am. Co., 299 U.S. 248 (1936) are misplaced. See Mot. to Stay at 1-2. Both of those
cases involved judicial authority over judicial processes, and not the entirely distinct question as
to whether the courts may intrude into the constitutional processes of the Legislative Branch.
5
 These same principles also shield federal officials, including congressional Members and staff,
when sued in their official capacities. See, e.g., Ishler v. Internal Revenue, 237 F. App’x 394,
397 (11th Cir. 2007) (“[T]he protection of sovereign immunity also generally extends to the
employees of those agencies sued in their official capacities.”); Boron Oil Co. v. Downie, 873
F.2d 67, 69 (4th Cir. 1989) (“[A]n action seeking specific relief against a federal official, acting
within the scope of his delegated authority, is an action against the United States, subject to
governmental privilege of immunity.”); Clark v. Library of Congress, 750 F.2d 89, 102-04 (D.C.


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        Here, if Mr. Comey had actually filed a complaint and attempted to assert a cause of

action, it would necessarily be against the congressional committee that issued the subpoena in

question. Sovereign immunity precludes the exercise of jurisdiction, absent an “unequivocally

expressed” waiver of that immunity. United States v. King, 395 U.S. 1, 4 (1969). As Mr. Comey

has failed to and cannot identify any such waiver of that immunity, much less an “unequivocally

expressed” one, his motion to quash must be dismissed.

  II.   THE SPEECH OR DEBATE CLAUSE PRECLUDES THE RELIEF SOUGHT BY
        MR. COMEY

        This Court lacks jurisdiction to grant the relief sought by Mr. Comey because the

Committee’s issuance of the challenged subpoena constitutes a legislative act absolutely

protected against litigation challenge by the Speech or Debate Clause, U.S. Const. art. I, § 6, cl.

1. As the Supreme Court explained in Eastland v. U.S. Servicemen’s Fund, “the Speech or

Debate Clause provides complete immunity for … issuance of this subpoena.” 421 U.S.at 507.

        A.     The Speech or Debate Clause Immunizes Legislative Acts From Judicial
               Review.

        “The purpose of the [Speech or Debate] Clause is to insure that the legislative function

the Constitution allocates to Congress may be performed independently …. [T]he ‘central role’

of the Clause is to ‘prevent intimidation of legislators by the Executive and accountability before

a possibly hostile judiciary.’” Eastland, 421 U.S. at 502 (emphasis added) (quoting Gravel v.

United States, 408 U.S. 606, 617 (1972)); see also United States v. Helstoski, 442 U.S. 477, 491

(1979) (“This Court has reiterated the central importance of the Clause for preventing intrusion

by [the] Executive and Judiciary into the legislative sphere.”). “In the American governmental

structure the [C]lause serves the additional function of reinforcing the separation of powers so


Cir. 1984) (sovereign immunity bars suit for money damages against Library of Congress official
acting in official capacity)


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deliberately established by the Founders.” United States v. Johnson, 383 U.S. 169, 178 (1966);

see also Helstoski, 442 U.S. at 491 (“[The] purpose [of the Clause] was to preserve the

constitutional structure of separate, coequal, and independent branches of government.”).

          Because “the guarantees of th[e Speech or Debate] Clause are vitally important to our

system of government,” they “are entitled to be treated by the courts with the sensitivity that

such important values require.” Helstoski v. Meanor, 442 U.S. 500, 506 (1979). Accordingly,

the Supreme Court has repeatedly, and “[w]ithout exception, … read the Speech or Debate

Clause broadly to effectuate its purposes.” Eastland, 421 U.S. at 501; see also Doe v. McMillan,

412 U.S. 306, 311 (1973); Gravel, 408 U.S. at 617-18; Johnson, 383 U.S. at 179; Kilbourn v.

Thompson, 103 U.S. 168, 204 (1880).

          The Speech or Debate Clause provides, inter alia, immunity from prosecutions or civil

lawsuits with respect to any and all actions “within the ‘legislative sphere.’” McMillan, 412 U.S.

at 312-13 (quoting Gravel, 408 U.S. at 624-25). The Supreme Court has stated unequivocally

that when the challenged “the actions of the [congressional defendants] fall within the ‘sphere of

legitimate legislative activity,’” they “‘shall not be questioned in any other Place’ about those

activities since the prohibitions of the Speech or Debate Clause are absolute.” Eastland, 421

U.S. at 501 (quoting McMillan, 412 U.S. at 312-13 and U.S. Const. art. I, § 6, cl. 1); see also id.

at 503, 509 n.16; 509-10; Gravel, 408 U.S. at 623 n.14; Barr v. Matteo, 360 U.S. 564, 569

(1959).

          B.     The Issuance Of Congressional Subpoenas Is A “Legislative Act” Within The
                 Scope Of The Speech Or Debate Clause.

          Activities “within the ‘legislative sphere,’” McMillan, 412 U.S. at 312-13 (quoting

Gravel, 408 U.S. at 624-25), include all activities that are




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               an integral part of the deliberative and communicative processes by
               which Members participate in committee and House proceedings
               with respect to the consideration and passage or rejection of
               proposed legislation or with respect to other matters which the
               Constitution places within the jurisdiction of either House.

Gravel, 408 U.S. at 625; accord Eastland, 421 U.S. at 504.

       The concept of “legislative activity” has been broadly construed to include much more

than merely words spoken in debate. The “cases have plainly not taken a literalistic approach in

applying the privilege. … Committee reports, resolutions, and the act of voting are equally

covered[.]” Gravel, 408 U.S. at 617. Of particular relevance here, the Supreme Court has

unambiguously held that the “power to investigate and to do so through compulsory process” is

activity within the legislative sphere. Eastland, 421 U.S. at 504. This is so because “‘[a]

legislative body cannot legislate wisely or effectively in the absence of information respecting

the conditions which the legislation is intended to affect or change.’” Id. (quoting McGrain v.

Daugherty, 273 U.S. 135, 175 (1927)).

       Thus, “[i]ssuance of subpoenas such as the one in question here has long been held to be

a legitimate use by Congress of its power to investigate.” Eastland, 421 U.S. at 504. Moreover,

“[i]t also has been held that the subpoena power may be exercised by a committee acting, as

here, on behalf of one of the Houses.” Id. at 505. Accordingly, a committee’s “issuance of a

subpoena pursuant to an authorized investigation is … an indispensable ingredient of

lawmaking,” id., and the Speech or Debate Clause therefore precludes litigation challenges to

such subpoenas. See id. at 507 (Committee’s “Members are immune because the issuance of the

subpoena is ‘essential to legislating’”).

       The Clause also bars any “inquiry into … the motivation for [legislative] acts.” United

States v. Brewster, 408 U.S. 501, 512 (1972); see also Johnson, 383 U.S. at 180, 184-85 (such




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inquiry “necessarily contravenes the … Clause”). Thus, the Clause is not abrogated by

allegations that a Legislative Branch official acted unlawfully or with an unworthy purpose. See,

e.g., McMillan, 412 U.S. at 312-13 (Clause applies to all legislative activities “even though the[]

conduct, if performed in other than legislative contexts, would in itself be unconstitutional or

otherwise contrary to criminal or civil statutes”); Tenney v. Brandhove, 341 U.S. 367, 377

(1951); Porteous v. Baron, 729 F. Supp. 2d 158, 166 (D.D.C. 2010).

        Finally, this Circuit has consistently held that once the “legislative process” test is met,

that is “the end of the matter.” See MINPECO, S.A. v. Conticommodity Servs., Inc., 844 F.2d

856, 861 (D.C. Cir. 1988); see also Brown & Williamson Tobacco Corp. v. Williams, 62 F.3d

408, 418-19 (D.C. Cir. 1995) (“Once the legislative-act test is met, … the privilege is absolute.”

(quoting Miller v. Transam. Press, Inc., 709 F.2d 524, 529 (9th Cir. 1983))); United States v.

Peoples Temple of the Disciples of Christ, 515 F. Supp. 246, 249 (D.D.C. 1981) (“The Supreme

Court has rarely spoken with greater clarity. Once it is determined … that [the congressional

individual or entity’s] actions fall within the ‘legitimate legislative sphere, judicial inquiry is at

an end.’”).

        C.      The Subpoena To Mr. Comey Is Absolutely Protected By The Clause.

        Mr. Comey’s motion to quash is squarely foreclosed by binding Supreme Court

precedent, specifically Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491 (1975). Eastland

involved an investigation of various activities of the United States’ Serviceman’s Fund, Inc.

(“USSF”) to determine whether they were potentially harmful to the morale of the U.S. Armed

Forces. Id. at 493. As a part of the investigation, a congressional committee issued a subpoena

to USSF’s bank seeking all records involving its accounts. Id. at 494. USSF and two of its

members brought an action against the Chairman, Members, and Chief Counsel of the committee



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to enjoin implementation of the subpoena on First Amendment grounds. Id. at 495. The

Supreme Court squarely and unequivocally rejected the notion that a congressional subpoena is

subject to a motion to quash. See id. at 512.

       In determining that the issuance of a congressional subpoena is a legislative act and,

therefore, absolutely privileged under the Speech or Debate Clause, the Eastland Court explained

that “the power to investigate is inherent in the power to make laws” and “[i]ssuance of

subpoenas... [is] a legitimate use by Congress of its power to investigate.” Id. at 504 (citation

omitted). Accordingly, the Court concluded that “the Speech or Debate Clause provides

complete immunity for the Members for issuance of this subpoena.” Id. at 507.

       Eastland also confirms the exceedingly limited role of the judiciary in determining

whether a congressional committee’s issuance of a subpoena involves legislative matters

protected by the Speech or Debate Clause. “The courts should not go beyond the narrow

confines of determining that a committee’s inquiry may fairly be deemed within its province.”

Id. at 506 (quoting Tenney, 341 U.S. at 378); see also United States v. Biaggi, 853 F.2d 89, 103

(2d Cir. 1988). The Eastland Court made clear that the only permissible judicial inquiry was a

deferential assessment of whether “the investigation upon which the [Committee] had embarked

concerned a subject on which ‘legislation could be had.’” 421 U.S. at 506. Finally, Eastland

“illustrates vividly the harm that judicial interference may cause.” Id. at 511. The Speech or

Debate Clause “was written to prevent the need to be confronted by such ‘questioning’ and to

forbid invocation of judicial power to challenge the wisdom of Congress’ use of its investigative

authority.” Id.

       Here, there can be no question that the subpoena to Mr. Comey was issued in furtherance

of the Committee’s investigation concerning “a subject on which ‘legislation could be had.’” Id.




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at 506. Indeed, Mr. Comey concedes as much, admitting that “the FBI and DOJ are

appropriately subject to congressional oversight” and that “the subject matters of the Joint

Committees’ Investigation are appropriate subjects of a proper investigation.” Mot. to Quash at

4. That admission should be the end of the matter, because it conclusively establishes that the

Committee’s subpoena relates to a subject on which legislation could be had and is thus immune

from challenge by virtue of the Speech or Debate Clause.

       In any event, Mr. Comey was correct to volunteer these fatal concessions. The

Committee has broad legislative jurisdiction over federal law enforcement agencies and

activities, and could devise legislation relating directly to the subject matter of this investigation.

Indeed, various legislative proposals have been proposed in recent Congresses to address aspects

of the issues raised by this investigation, including but not limited to reforms of national security

laws such as the Foreign Intelligence Surveillance Act, as well as modifications to laws

governing the FBI’s investigative procedures. Somers Decl.¶ 4. To effectively consider such

legislative proposals, the Committee must gather information so that it can make informed

decisions about the need for legislative action and, where appropriate, the content of such

legislation. This information-gathering lies at the very heart of the “sphere of legitimate

legislative activity,” Eastland, 421 U.S. at 503. See, e.g., id. at 504 (“The power to investigate

… plainly falls within that definition [of legitimate legislative activity].”); Biaggi, 853 F.2d at

103; United States v. Dowdy, 479 F.2d 213, 224 (4th Cir. 1973). 6



6
  Congressional investigative activities need not result in the passage of legislation in order to
enjoy the full protection of the Speech or Debate Clause. Information-gathering in furtherance
of possible legislation is protected whenever the subject of the inquiry is “one ‘on which
legislation could be had,’” Eastland, 421 U.S. at 504 n.15 (quoting McGrain, 273 U.S. at 177),
regardless of whether legislation is actually produced, see id. at 509 (“Nor is the legitimacy of a
congressional inquiry to be defined by what it produces. The very nature of the investigative
function – like any research – is that it takes the searchers up some ‘blind alleys’ and into


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       Mr. Comey’s baseless allegations that Committee Members are improperly “leaking”

witness testimony for the purpose of gaining “partisan advantage,” Mot. to Quash at 6, 8, provide

no basis for evasion of the absolute immunity afforded by the Speech or Debate Clause. As

discussed above, the Speech or Debate Clause bars judicial “inquiry into … the motivation for

[legislative] acts.” Helstoski, 442 U.S. at 489. Claims of “unworthy purpose do[] not destroy the

privilege.” Tenney, 341 U.S. at 377. Were mere allegations such as Mr. Comey’s sufficient to

abrogate the absolute privilege afforded by the Clause, then, as the Court in Eastland observed,

“the Clause simply would not provide the protection historically undergirding it.” Eastland, 421

U.S. at 509.

       In fact, under Eastland, even a claim that “the purpose of the subpoena was to ‘harass,

chill, punish and deter’ [witnesses] in the exercise of their First Amendment rights” does not

override the absolute protections of the Speech or Debate Clause. 421 U.S. at 509. Expressly

rejecting the “theory … that once it is alleged that First Amendment rights may be infringed by

congressional action the Judiciary may intervene to protect those rights,” the Supreme Court held

that any such “approach … ignores the absolute nature of the speech or debate protection and our

cases which have broadly construed that protection.” Id. at 509-10 (footnote omitted).

       Finally, Mr. Comey errs in relying on contempt cases such as Watkins v. United States,

354 U.S. 178 (1957). See Mot. to Quash at 5-6. Those cases involved prosecutions brought by

the Executive Branch in federal court against recalcitrant witnesses charged with contempt of

Congress; they did not implicate the Speech or Debate Clause at all, since no relief was sought

against any congressional parties. Accordingly, they are entirely inapposite.




nonproductive enterprises. To be a valid legislative inquiry there need be no predictable end
result.”).


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        Indeed, the Eastland Court held that “[d]ifferent problems were presented [in those cases]

from those here,” because “those cases did not involve attempts by private parties to impede

congressional action where the Speech or Debate Clause was raised by Congress by way of

defense.” 421 U.S. at 509 n.16. As the Court explained, in contempt cases it may be appropriate

to “balanc[e] First Amendment rights against public interests,” but “[w]here we are presented

with an attempt to interfere with an ongoing activity by Congress, and that activity is found to be

within the legitimate legislative sphere, balancing plays no part.” Id. Instead, because “[t]he

speech or debate protection provides an absolute immunity from judicial interference” in this

context, any “[c]ollateral harm which may occur in the course of a legitimate legislative inquiry

does not allow us to force the inquiry to ‘grind to a halt.’” Id. (quoting Hutcheson v. United

States, 369 U.S. 599, 618 (1962)).

        Accordingly, because the issuance of the subpoena was a legitimate legislative act, the

Committee is absolutely immune from suit and the motion to quash must be dismissed.

 III.   THE RULEMAKING CLAUSE PRECLUDES THIS ACTION

        As noted above, Mr. Comey expressly concedes the validity of both the Committee’s

oversight authority and the subject matter of its investigation. Mot. to Quash at 4. In addition,

he claims that he has no objection to providing to the Committee the information that it seeks.

Id. Accordingly, it appears that his only objection to the subpoena reduces to his disagreement

with the specific procedures that the Committee has elected to use to obtain his testimony;

namely, a deposition as opposed to testimony in a public hearing. In addition to being precluded

by the Speech or Debate Clause for all the reasons set forth above, this objection fails for an

additional, independently sufficient reason.

        Pursuant to the Constitution’s Rulemaking Clause, “[e]ach House [of Congress] may

determine the Rules of its Proceedings.” U.S. Const. art. I, § 5, cl. 2. In accordance with that


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express and exclusive constitutional grant of authority, the House of Representatives has

delegated the power to conduct depositions to its standing committees, including the Committee

on the Judiciary. See H. Res. 5, § 3(b)(1) (115th Cong. 2017) (“[T]he chair of a standing

committee … upon consultation with the ranking minority member of such committee, may

order the taking of depositions, including pursuant to subpoena, by a member or counsel of such

committee.”).

       The Rulemaking Clause is a “broad grant of authority,” Consumers Union of U.S., Inc. v.

Periodical Correspondents’ Ass’n, 515 F.2d 1341, 1343 (D.C. Cir. 1975), and “a classic example

of a demonstrable textual commitment to another branch of government.” Rangel v. Boehner, 20

F. Supp. 3d 148, 168-69 (D.D.C. 2013), affirmed on other grounds, 785 F.3d 19 (D.C. Cir.

2015); see also NLRB v. Canning, 134 S. Ct. 2550, 2574 (2014) (noting “the Constitution’s

broad delegation of authority to the Senate to determine how and when to conduct its business”).

Accordingly, the rules adopted by the House are constrained only by constitutional prohibitions,

and are otherwise “absolute and beyond the challenge of any other body or tribunal.” United

States v. Ballin, 144 U.S. 1, 5 (1892).

       Under these precedents, the Committee’s decision to utilize its deposition procedures to

obtain testimony from Mr. Comey is one that the Constitution specifically vests exclusively in

the Legislative Branch and with which the courts have no authority to interfere at the behest of

private parties. As the Supreme Court has emphasized, “all matters of method are open to the

determination of the house, and it is no impeachment of the rule to say that some other way

would be better, more accurate, or even more just.” Ballin, 144 U.S. at 5. The Rulemaking

Clause establishes a “specific constitutional … status” for congressional rules, and “[i]n

deference to the fundamental constitutional principle of separation of powers, the judiciary must




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take special care to avoid intruding into a constitutionally delineated prerogative of the

Legislative Branch.’” Harrington v. Bush, 553 F.2d 190, 214 (D.C. Cir. 1977).

       For all the foregoing reasons, therefore, Mr. Comey’s motion to quash should be

dismissed.

 IV.   IN ANY EVENT, THE COMMITTEE’S SUBPOENA IS VALID

       A.      The Committee’s Subpoena Seeks Information In Furtherance Of A Valid
               Legislative Purpose.

       Mr. Comey cannot seriously contend that the Committee, with broad oversight and

legislative responsibility over DOJ and the FBI, lacks a valid legislative purpose in examining

the actions of those agencies in the run-up to the 2016 election. Mr. Comey may disagree with

the focus of the Committee’s investigation and he may disagree with the views of the individual

Members of the Committee, but he cannot dispute the authority of the Committee to conduct

oversight into DOJ and the FBI. In fact, he concedes, as noted above, that “the subject matters of

the Joint Committees’ Investigation are appropriate subjects of a proper investigation.” Mot. to

Quash at 4.

       Mr. Comey instead claims that the Committee’s “closed interview condition” (i.e., a

deposition – a routine discovery device expressly authorized by a vote of the full House pursuant

to its constitutional rulemaking authority) portends a nefarious purpose because there have been,

he warns, “leaks” of “secret testimony,” as well as an attempt by elected political officers to

secure “partisan advantage.” Mot. to Quash at 6, 8. Simply put, Mr. Comey attempts to convert

what he views as a distasteful discovery device into an improper legislative purpose.

       As an initial matter, deposition testimony is not “secret,” because there is no overarching

requirement of confidentiality for Committee depositions in the House Rules, House deposition

procedures, or Committee rules. Mr. Comey is free to discuss any of his non-classified



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deposition testimony publicly, as are the Committee Members. In addition, Mr. Comey may not

avoid his deposition obligation by attacking the motives of the Committee Members. That is

because “in determining the legitimacy of a congressional act,” the courts “do not look to the

motives alleged to have prompted it.” Eastland, 421 U.S. at 508. The Supreme Court has

expressly warned against the danger of courts interfering in congressional investigations on the

basis of allegations like those advanced by Mr. Comey: “If the mere allegation that a valid

legislative act was undertaken for an unworthy purpose would lift the protection of the Clause,

then the Clause simply would not provide the protection historically undergirding it.” Id. at 508-

09. Mr. Comey is free to publicly denounce the allegedly “partisan” motivations of elected

officials, but he cannot thereby empower the Judicial Branch to interfere with a constitutionally

authorized congressional investigation.

       Finally, Mr. Comey’s concern that other witnesses have been “unfairly prejudiced” by

“leaks and related comments” without the “full scope” of the testimony known to the public

certainly makes no sense in Mr. Comey’s case. Mot. to Quash at 8. The Committee has made

clear to Mr. Comey’s counsel that it will promptly provide him with a copy of Mr. Comey’s

deposition transcript as soon as it is available. Somers Decl. ¶ 14. The Committee anticipates

providing the transcript within 24 hours after the conclusion of the deposition, an

accommodation that has been offered to other witnesses also. Somers Decl. ¶ 14. Mr. Comey is

free to publicly release the deposition transcript upon its receipt. Mr. Comey is also free to

immediately disclose his testimony after he leaves the deposition room. If the American people

are clamoring for the “full scope of [his] testimony,” as Mr. Comey contends, Mot. to Quash at

4, he may use his considerable public platform and media contacts to disclose that testimony and

provide any allegedly necessary context for the “false political narrative” he fears. See Mot. to




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Stay at 3; see also James Comey (@Comey), Twitter, https://twitter.com/Comey (1.12 million

followers for @Comey account) (last visited Nov. 30, 2018).

       B.      The Committee’s Subpoena Is Fully In Accordance With House And
               Committee Rules.

       Mr. Comey curiously claims, without citation to any apposite authority, that “secret

interviews” are a violation of House Rules. Mot. to Quash at 8-9. Mr. Comey’s entire argument

rests on what can only be characterized as an intentional misreading of House Rules and

procedures, conflating the Rules governing hearings with the procedures governing depositions.

See Somers Decl. ¶ 15. As an initial matter, House committees regularly conduct closed

interviews of witnesses. With respect to depositions specifically, as discussed in Part III, the

House has delegated “the taking of depositions, including pursuant to subpoena,” to its standing

committees and that such depositions “shall be subject to regulations issued by the chair of the

Committee on Rules.” H. Res. 5, § 3(b), 115th Cong. (2017). The regulations issued by the

Committee on Rules provide that depositions are closed to the public. See Somers Decl. Ex. H at

¶ 3 (“Observers … may not attend.”). 7

       Even if there were any doubt about the question as to whether a House committee’s

deposition must be conducted in public like a hearing and not a deposition (and there is truly no

ambiguity on this point), as explained above, courts lack the authority to second-guess the

Committee’s interpretation and implementation of its own rules. See, 144 U.S. at 5; see also

United States v. Rostenkowski, 59 F.3d 1291, 1306 (D.C. Cir. 1995) (“[T]he Rulemaking Clause

of Article I clearly reserves to each House of the Congress the authority to make its own rules,

and judicial interpretation of an ambiguous House Rule runs the risk of the court intruding into


7
 The regulations further provide that transcripts shall be made available to witnesses; witnesses
may propose changes to transcripts; and that the release of transcripts shall occur on consultation
with the minority or by committee vote, as necessary. Somers Decl. Ex. H at ¶¶ 8, 10.


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the sphere of influence reserved to the legislative branch under the Constitution.”). Here, the

Committee has determined that its deposition will be conducted like most depositions – in

private. Mr. Comey’s belief that the Committee must interpret the House Rules and regulations

differently is both non-justiciable and wrong.

    V.   THE COMMITTEE’S SUBPOENA SERVES THE PUBLIC INTEREST

         For the reasons explained above, this Court lacks jurisdiction to grant Mr. Comey relief,

including a stay his deposition. 8 In any event, it is patently absurd to suggest that Mr. Comey

will suffer “significant prejudice” where he is free to discuss his testimony in public and the

Committee will, as discussed above, provide him with a full transcript of his testimony within 24

hours.

         The public interest strongly compels denial of Mr. Comey’s attempt to interfere with the

impending conclusion of this important congressional investigation. Over the past thirteen

months, the Committee has conducted an exhaustive review of the actions of DOJ and the FBI.

The Committee has interviewed numerous officials and carefully reviewed a large number of

records from the Executive Branch. Somers Decl. ¶ 5. To complete its investigation and prepare

its public report, the Committee now seeks to interview Mr. Comey, who was the Director of the

FBI during the entire time period encompassed by its investigation. Somers Decl. ¶ 9. This

interview could not realistically have occurred at an earlier stage of the investigation, because the



8
  Mr. Comey cites Comm. on the Judiciary v. Miers, 542 F.3d 909 (D.C. Cir. 2008), for the
proposition that courts may stay enforcement of congressional subpoenas, but that case is wholly
inapposite, as the Speech or Debate Clause was inapplicable there because the Committee had
itself chosen to invoke the jurisdiction of the federal courts to address the Executive Branch’s
refusal to comply with a subpoena. Moreover, that case involved an inter-branch clash
implicating substantial separation-of-powers concerns under the Constitution that the court of
appeals deemed sufficient to justify the extraordinary relief of a stay. Here, by contrast, the
Executive Branch is not a party to the case, and the only separation-of-powers principles at stake
here compel judicial non-interference with an ongoing congressional investigation.


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Committee’s investigative work to this point was in anticipation of, and preparation for, its

interview of the highest-ranking official at the FBI, namely, Mr. Comey. Somers Decl. ¶ 6.

       If Mr. Comey’s deposition were to be stayed, it would have a profound impact on the

Committee’s investigation and prevent the Committee from providing a full accounting of DOJ’s

actions in 2016. The Committee intends to issue a joint report (together with OGR) before the

end of the 115th Congress – i.e., in a few short weeks. Somers Decl. ¶ 9. The Committee

cannot reasonably complete its assessment of the 2016 actions of DOJ and the FBI without the

testimony of Mr. Comey. Somers Decl. ¶ 9. Mr. Comey seeks to frustrate the Committee’s

completion of its legislative report by demanding (unlike every other former government official

involved in the investigation) a public hearing, which requires an enormous amount of staff and

Member time and is a decision vested in the sole and unreviewable discretion of the Committee.

At bottom, Mr. Comey seeks to obstruct this congressional investigation by preventing the

Committee from issuing its final report.

       The D.C. Circuit has squarely held that there is a “clear public interest in maximizing the

effectiveness of the investigatory powers of Congress[,]” because “the investigatory power is one

that the courts have long perceived as essential to the successful discharge of the legislative

responsibilities of Congress[.]” Exxon Corp. v. FTC, 589 F.2d 582, 594 (D.C. Cir. 1978) (citing

McGrain, 273 U.S. at 177). Interference with the Committee’s exercise of its constitutional

power of inquiry would directly harm the Committee’s compelling interest in expeditious

completion of this investigation, which involves matters of pressing national importance. “For

this court on a continuing basis to mandate an enforced delay on the legitimate investigations of

Congress” based on nothing more than Mr. Comey’s baseless “leak” concerns “could seriously




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impede the vital investigatory powers of Congress and would be of highly questionable

constitutionality.” Exxon, 589 F.2d at 588.

                                        CONCLUSION

       Mr. Comey’s procedurally defective, jurisdictionally improper, constitutionally infirm,

and patently frivolous request for an order staying or quashing the Committee’s subpoena should

be denied.

                                              Respectfully submitted,

                                              /s/ Thomas G. Hungar
                                              THOMAS G. HUNGAR (DC Bar #447783)
                                                General Counsel
                                              TODD B. TATELMAN (VA Bar #66008)
                                                Deputy General Counsel
                                              KIMBERLY HAMM (DC Bar #1020989)
                                                Associate General Counsel

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                                              Counsel for the Committee on the Judiciary
                                              of the U.S. House of Representatives
November 30, 2018




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                               CERTIFICATE OF SERVICE

       I certify that on November 30, 2018, I filed the foregoing document by the court’s

CM/ECF system, which I understand caused it to be served on all registered parties.



                                                   /s/ Kimberly Hamm
                                                   Kimberly Hamm
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


                                         )
IN RE SUBPOENA OF JAMES COMEY BY         )
AUTHORITY OF THE HOUSE OF                ) Case No. 1:18-mc-00174-TNM
REPRESENTATIVES OF THE CONGRESS OF THE   )
UNITED STATES OF AMERICA                 )
                                         )




                EXHIBIT A
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PRESS RELEASE (PRESS-RELEASES) | OCTOBER 24, 2017



Goodlatte, Gowdy Open
Investigation into Decisions
Made by DOJ in 2016


   Washington, DC – Today, House Judiciary Committee Chairman Bob Goodlatte (R-Va.)
   and House Oversight and Government Reform Committee Chairman Trey Gowdy (R-
   S.C.) released the following statement after opening a joint investigation into decisions
   made by the Department of Justice in 2016.

   “Our justice system is represented by a blind-folded woman holding a set of scales.
   Those scales do not tip to the right or the left; they do not recognize wealth, power, or
   social status. The impartiality of our justice system is the bedrock of our republic and
   our fellow citizens must have con dence in its objectivity, independence, and
   evenhandedness. The law is the most equalizing force in this country. No entity or
   individual is exempt from oversight.

   “Decisions made by the Department of Justice in 2016 have led to a host of
   outstanding questions that must be answered. These include, but are not limited to:
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     FBI’s decision to publicly announce the investigation into Secretary Clinton’s
     handling of classi ed information but not to publicly announce the investigation
     into campaign associates of then-candidate Donald Trump;
     FBI’s decision to notify Congress by formal letter of the status of the
     investigation both in October and November of 2016;
     FBI’s decision to appropriate full decision making in respect to charging or not
     charging Secretary Clinton to the FBI rather than the DOJ;
     FBI’s timeline in respect to charging decisions.

“The Committees will review these decisions and others to better understand the
reasoning behind how certain conclusions were drawn. Congress has a constitutional
duty to preserve the integrity of our justice system by ensuring transparency and
accountability of actions taken.”

                                                ###




                                    2138 Rayburn House Office Bldg
                                        Washington, DC 20515
                                             202.225.3951


                        Minority Site (https://democrats-judiciary.house.gov/)
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                  IN THE UNITED STATES DISTRICT COURT
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                                         )
IN RE SUBPOENA OF JAMES COMEY BY         )
AUTHORITY OF THE HOUSE OF                ) Case No. 1:18-mc-00174-TNM
REPRESENTATIVES OF THE CONGRESS OF THE   )
UNITED STATES OF AMERICA                 )
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                EXHIBIT B
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


                                         )
IN RE SUBPOENA OF JAMES COMEY BY         )
AUTHORITY OF THE HOUSE OF                ) Case No. 1:18-mc-00174-TNM
REPRESENTATIVES OF THE CONGRESS OF THE   )
UNITED STATES OF AMERICA                 )
                                         )




                EXHIBIT C
                Case 1:18-mc-00174-TNM Document 11-2 Filed 11/30/18 Page 7 of 28

Baker, Arthur

From:                            Baker, Arthur
Sent:                            Friday, September 21, 2018 6:05 PM
To:                              'david.kelley@dechert.com'
Subject:                         James Corney
Attachments:                     Corney Request.pdf



Mr. Kelley,
Following up on our previous telephone call and email requesting to interview Mr. Corney.




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                                       September 21, 2018

Mr. David N. Kelley, Esq.
Dechert, LLP
1095 Avenue of the Americas
New York City, NY 10036-6797

Dear Mr. Kelley:

       The House Committees on the Judiciary and the House Committee on Oversight and
Government Reform are investigating decisions made and not made during the 2016 election by
the Department of Justice (DOJ) and the Federal Bureau of Investigation (FBI).

        As part of this investigation, the Committees need to interview your client, former FBI
Director James Corney. We request you promptly make Mr. Corney available for a transcribed
interview.




Bob Goodlatte                                                      Trey Gowdy
Chairman                                                           Chairman
Committee on the Judiciary                                         Committee on Oversight &
                                                                   Government Reform



cc:    The Honorable Jerrold Nadler
       Ranking Member, Committee on the Judiciary

       The Honorable Elijah Cummings
       Ranking Member, Committee on Oversight and Government Reform




                                       PRINTED ON RECYCLED PAPER
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


                                         )
IN RE SUBPOENA OF JAMES COMEY BY         )
AUTHORITY OF THE HOUSE OF                ) Case No. 1:18-mc-00174-TNM
REPRESENTATIVES OF THE CONGRESS OF THE   )
UNITED STATES OF AMERICA                 )
                                         )




                EXHIBIT D
               Case 1:18-mc-00174-TNM Document 11-2 Filed 11/30/18 Page 10 of 28


Baker, Arthur

From:                            Kelley, David < David.Kelley@dechert.com >
Sent:                            Monday, October 01, 2018 12:20 PM
To:                              Baker, Arthur
Cc:                              Grooms, Susanne Sachsman; Hiller, Aaron
Subject:                         RE: James Corney
Attachments:                     Letter to US Congress_ House of Representative.pdf



Please see the attached correspondence. Happy to discuss at your convenience.

David N. Kelley
Partner

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+1 212 698 3599 Fax
david.kelley@dechert.com
www.dechert.com

From: Baker, Arthur [mailto:Arthur.Baker@mail.house.gov]
Sent: Friday, September 21, 2018 6:05 PM
To: Kelley, David <David.Kelley@dechert.com>
Subject: James Corney

Mr. Kelley,
Following up on our previous telephone call and email requesting to interview Mr. Corney.

This e-mail is from Dechert LLP, a law firm, and may contain information that is confidential or privileged. If
you are not the intended recipient, do not read, copy or distribute the e-mail or any attachments. Instead, please
notify the sender and delete the e-mail and any attachments. Thank you.




                                                           1
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                                                                      Three Bryant Park

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                                                                      DAVID N. KELLEY

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                                                                      +1 212 698 3580 Direct
                                                                      +1 212 698 0460 Fax
        October 1, 2018


        Congress of the United States
        House of Representatives
        Washington, DC 20515

        Dear Representatives Goodlatte and Gowdy:

                 I write on behalf ofmy client, fonner FBI Director James B. Corney, and in response to
        your letter to me dated September 21, 2018, in which you, on behalf of the House Committee on
        the Judiciary and the Committee on Oversight and Government Reform, request a transcribed,
        closed door interview of Mr. Corney. We understand from your correspondence that your
        committees are jointly investigating "decisions made and not made during the 2016 election by
        the Department of Justice (DOJ) and the Federal Bureau of Investigation (FBI)."

                Mr. Corney respectfully declines your request for a private interview. He would,
        however, welcome the opportunity to testify at a public hearing. Given that Mr. Corney no longer
        has a security clearance, we do not anticipate the public setting to present concerns about the
        disclosure of classified information. Moreover, we also expect that, because any information
        about which you may inquire was acquired by Mr. Corney while he was in the employ of the FBI,
        you will obtain in advance the necessary approvals from the FBI for Mr. Corney to disclose FBI
        information that may be responsive to your examination.

                Because Mr. Corney has a variety of commitments in the coming months, please contact
        me as soon as possible to schedule a hearing date.




        cc:   The Honorable Jerrold Nadler
              Ranking Member, Committee on the Judiciary

              The Honorable Elijah Cummings
              Ranking Member, Committee on Oversight and Government Reform

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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


                                         )
IN RE SUBPOENA OF JAMES COMEY BY         )
AUTHORITY OF THE HOUSE OF                ) Case No. 1:18-mc-00174-TNM
REPRESENTATIVES OF THE CONGRESS OF THE   )
UNITED STATES OF AMERICA                 )
                                         )




                EXHIBIT E
               Case 1:18-mc-00174-TNM Document 11-2 Filed 11/30/18 Page 13 of 28

Baker, Arthur

From:                             Baker, Arthur
Sent:                             Monday, November 19, 2018 12:10 PM
To:                               Kelley, David
Subject:                          RE: James Corney



Mr. Kelley, as a follow-up, it appears that since Mr. Corney has personal matters to attend to on November 29th,
a subpoena for the week of the Dec 3rd is being processed. Thank you
From: Baker, Arthur
Sent: Sunday, November 18, 2018 12: 12 PM
To: Kelley, David
Subject: Re: James Corney

Hi Mr Kelley. Sorry for the Sunday intrusion, but I wanted to let you know that in the event of litigation, the Committee
would be represented by Tom Hungar, the House General Counsel. Thank you and enjoy the remainder of the weekend

Arthur Baker

Sent from my iPhone

On Nov 16, 2018, at 6:40 PM, Kelley, David <David.KeUey@dechert.com> wrote:

        I am authorized o accept service thanks. Electronically will do. As I indicated on the phone let me know
        if you or someone else will be representing the committee in the likely event we litigate the subpoena.

        David N. Kelley
        Partner

        Dechert LLP
        1095 Avenue of the Americas
        New York, NY 10036-6797
        +1212 698 3580
        +1212 698 3599 Fax
        david.kelley@dechert.com
        www.dechert.com

        On Nov 16, 2018, at 4:35 PM, Baker, Arthur <Arthur.Baker@mail.house.gov> wrote:

                Mr. Kelley,

                Regarding your letter of October 1, 2018 informing Representatives Good latte and
                Gowdy of former Director Corney's declination of a private interview, the House
                Judiciary Committee has determined that it is necessary to subpoena Director Corney.
                This will be for an interview before the Judiciary Committee and the Committee on
                Oversight and Government Reform. As you know, these Committees have been
                investigating decisions made and not made during the 2016 election by the Department
                of Justice {DOJ) and the Federal Bureau of Investigation {FBI).
                Please advise me ASAP if you will accept service of the subpoena on behalf of your
                client. Thank you

                                                            1
       Case 1:18-mc-00174-TNM Document 11-2 Filed 11/30/18 Page 14 of 28
       Arthur Baker
       Arthur.Baker@mail.house.gov
       202-225-5727




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                                                 2
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


                                         )
IN RE SUBPOENA OF JAMES COMEY BY         )
AUTHORITY OF THE HOUSE OF                ) Case No. 1:18-mc-00174-TNM
REPRESENTATIVES OF THE CONGRESS OF THE   )
UNITED STATES OF AMERICA                 )
                                         )




               EXHIBIT F
                  Case 1:18-mc-00174-TNM Document 11-2 Filed 11/30/18 Page 16 of 28

Baker, Arthur

From:                              Baker, Arthur
Sent:                              Wednesday, November 21, 2018 4:47 PM
To:                                'Kelley, David'
Cc:                                Somers, Zachary                                                                  ;

Subject:                           RE: James Corney
Attachments:                       Corney Subpoena signed w proof of service.pdf



Mr. Kelley, per our previous discussions and emails, please find attached a subpoena for Mr. Corney, requiring his
appearance for a deposition at the Rayburn House Office Building, Room 2138, on December 3, 2018, at 10:00 a.m.
Thank you


From: Kelley, David [mailto:David.Kelley@dechert.com]
Sent: Friday, November 16, 2018 6:40 PM
To: Baker, Arthur
Subject: Re: James Corney

I am authorized o accept service thanks. Electronically will do. As I indicated on the phone let me know if you or
someone else will be representing the committee in the likely event we litigate the subpoena.

David N. Kelley
Partner

Dechert LLP
1095 Avenue of the Americas
New York, NY 10036-6797
+1 212 698 3580
+1 212 698 3599 Fax
david.kelley@dechert.com
www .dechert.com

On Nov 16, 2018, at 4:35 PM, Baker, Arthur <Arthur.Baker@mail.house.gov> wrote:

        Mr. Kelley,

        Regarding your letter of October 1, 2018 informing Representatives Good latte and Gowdy of former
        Director Corney's declination of a private interview, the House Judiciary Committee has determined that
        it is necessary to subpoena Director Corney. This will be for an interview before the Judiciary Committee
        and the Committee on Oversight and Government Reform. As you know, these Committees have been
        investigating decisions made and not made during the 2016 election by the Department of Justice (DOJ)
        and the Federal Bureau of Investigation (FBI).
        Please advise me ASAP if you will accept service of the subpoena on behalf of your client. Thank you

        Arthur Baker
        Arthur.Baker@mail .house.gov
        202-225-5727




                                                            1
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                                                         2
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                                                 SUBPOENA
              BY AUTHORITY OF THE HOUSE OF REPRESENTATIVES OF THE
                   CONGRESS OF THE UNlTED STATES OF AMERICA

To James Corney, Former Director of the Federal Bureau oflnvestigation

        You are hereby commanded to be and appear before the
               Committee on the Judiciary


         of the House of Representatives of the United States at the place, date, and time specified below.
D       to produce the things identified on the attached schedule touching matters of inquiry committed to said
        committee or subcommittee; and you are not to depart without leave of said committee or subcommittee. .


         Place of production:
                             ----------------------------
         Date:--- - -- - -                                                    Time: _ _ _ _ _ _ _ __

[Z]     to testify at a deposition touching matters of inquiry coqimitted to said committee or subcommittee;
        and you are not to depart without leave of said committee or subcommittee.

         Place of testimony: 2138 Rayburn House Office Building

         Date: December 3, 2018                                              Time: 10:00 a.m.

D       to testify at a hearing touching matters of inquiry committed to said committee or subcommittee; and
         you are not to depart without leave of said committee or subcommittee.


         Place of testimony: - - - - - - - - - - - - - - - - - - - - - - - - - - - -

          Date: - - - - - - - -                                               Time: _ _ _ _ _ _ _ _ __



w any authorized staff member or the U.S. Marshals Service

      ----------------------------- to serve and make return.
                            Witness my hand and the seal of the House of Representatives of the United States, at

                                the city of Washington, D.C. this 21st     day of November                    , 201g.



                                                                                Chairman or Authorized Member
   Case 1:18-mc-00174-TNM Document 11-2 Filed 11/30/18 Page 19 of 28




                                        PROOF OF SERVICE



Subpoena for
               James Corney, Former Director of the Federal Bureau of Investigation
Address c/o David N. Kelley, Dechert LLP, 1095 Avenue of the Americas, New York, NY 10036



before the Committee on the Judiciary




U.S. House ofRepresentatives
115th Congress




Served by (print name) Arthur Baker

Title Chief Investigative Counsel

Manner of service Electronic delivery



Date 11/21/2018

Signature of Server      /s Arthur Baker

Address 2138 Rayburn House Office Building

Washington, D.C. 20515
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


                                         )
IN RE SUBPOENA OF JAMES COMEY BY         )
AUTHORITY OF THE HOUSE OF                ) Case No. 1:18-mc-00174-TNM
REPRESENTATIVES OF THE CONGRESS OF THE   )
UNITED STATES OF AMERICA                 )
                                         )




               EXHIBIT G
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Hamm, Kimberly

Subject:            FW: Mr. Comey


 
From: Baker, Arthur
Sent: Wednesday, November 28, 2018 4:03 PM
To: 'Kelley, David'
Subject: Mr. Comey
 
Mr. Kelley, 
 
Per our recent telephone call, the Committee proposes to your client the idea of proceeding with the private 
interview/deposition format, but releasing the transcripts of that as soon as they are available. This would address 
transparency concerns. Additionally, controls on information prior to the transcript release would be addressed. I 
understand that Mr. Comey may be unavailable for consultation today, but I look forward to your response. Thank you 
 
Arthur Baker  
202‐226‐6503 




                                                          1
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


                                         )
IN RE SUBPOENA OF JAMES COMEY BY         )
AUTHORITY OF THE HOUSE OF                ) Case No. 1:18-mc-00174-TNM
REPRESENTATIVES OF THE CONGRESS OF THE   )
UNITED STATES OF AMERICA                 )
                                         )




                 EXHIBIT H
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H536                                  CONGRESSIONAL RECORD—HOUSE                                                           January 13, 2017
office as a Member of the new 115th          sent here to make judgments on their                     sel to advise them of their rights. Only mem-
Congress of the United States and            behalf. But, of course, to earn that                     bers, committee staff designated by the
                                             right in the first place, the Representa-                chair or ranking minority member, an offi-
given that next week we will watch                                                                    cial reporter, the witness, and the witness's
President-elect Trump also take the          tive must make his case to the people.                   counsel are permitted to attend. The chair of
oath of office, I want to share a few        In spite of the drama, in spite of the                   the committee that noticed the deposition
thoughts on the deep importance of           raucous nature of elections—and we                       may designate that deposition as part of a
this constitutional duty that we share.      have just come through one—the fact                      joint investigation between committees. If
   Mr. Speaker, as you are aware, last       that America goes through this cycle                     such a designation is made, the chair and
week on Capitol Hill was marked by a         of constant replenishment is truly an                    ranking minority member of the committee
day of celebration. It was a day of re-      extraordinary gift.                                      that provided notice of such deposition may
newal of friendships, even between peo-        Mr. Speaker, as I stood in the center                  each also designate up to two committee
                                             aisle right here last week, I raised my                  staff from committees designated as part of
ple who have deep, deep disagreements                                                                 the joint investigation to attend the deposi-
in this body. Families and guests all        right hand. I raised it right along with
                                                                                                      tion after consultation with the chair or
gathered to share in the moment's ex-        everyone else who is a Member of this                    ranking minority member of the designated
citement and meaning, and Members of         new 115th Congress, and I took that                      committees. Observers or counsel for other
Congress congratulated one another on        oath of office.                                          persons, including counsel for government
their recent victories. We all took a re-      Mr. Speaker, I just think it is worth-                 agencies, may not attend.
prieve from the intensity of the policy      while to read these powerful words:                         4. If member attendance is required, the
debate for just a moment. But amidst           "I do solemnly swear, or affirm, that                  deposition will stand in recess for any period
all of that swirl of activity, the day       I will support and defend the Constitu-                  in which a member is not present.
was set apart by the oath of office.         tion of the United States against all                       5. A deposition shall be conducted by any
   Mr. Speaker, the oath lays down a         enemies, foreign and domestic; that I                    member or staff attorney designated by the
clear marker of the serious obligations      will bear true faith and allegiance to                   chair or ranking minority member. When
ahead for all of us. In our day and time,    the same; that I take this obligation                    depositions are conducted by committee
we no longer are deeply connected to         freely, without any mental reservation                   staff attorneys, there shall be no more than
                                             or purpose of evasion; and that I will                   two committee staff attorneys permitted to
this concept of oath. We see it in the                                                                question a witness per round. One of the
courtroom when somebody is required          well and faithfully discharge the duties
                                             of the office on which I am about to                     committee staff attorneys shall be des-
to tell the truth. We will see it again                                                               ignated by the chair and the other by the
next week when President-elect Trump         enter, so help me God."                                  ranking minority member per round. Other
                                               Mr. Speaker, indeed, this is a very                    committee staff members designated by the
is sworn in. But we rarely take the          high bar. This is a sacred duty. This is
time to reflect on its deeper meaning.                                                                chair or ranking minority member, includ-
                                             a solemn task. It sets this body and our                 ing designated staff from additional commit-
   We see it more like an old tradition,
a nostalgic option that we exercise out      system of governance apart by forcing                    tees in the case of a joint investigation, may
                                             each of us who have been given this ex-                  attend, but may not question the witness.
of deference to our history. However,
the oath is much, much more. It is a         traordinary privilege of taking on the                      6. Deposition questions shall be pro-
solemn declaration. It is a pause, the       heavy mantel and weighty responsi-                       pounded in rounds. The length of each round
                                             bility of making decisions on behalf of                  shall be determined by the chair after con-
start of sacred duty.                                                                                 sultation with the ranking minority mem-
   By taking an oath, you effectively        this great country, and to do so to the
                                             best of our ability, having put our very                 ber, shall not exceed 90 minutes per side, and
hold your very self at ransom. You                                                                    shall provide equal time to the majority and
commit, at the deepest levels, that you      self, the integrity of what it means to                  the minority. In each round, a member or
will perform the tasks ahead of you to       be a person, on the line to uphold that                  committee staff attorney designated by the
the best of your ability.                    commitment.                                              chair shall ask questions first, and the mem-
   The oath is the ultimate test and            Mr. Speaker, I yield back the balance                 ber or committee staff attorney designated
measure of integrity. If you violate it,     of my time.                                              by the ranking minority member shall ask
                                                                                                      questions second.
you tear at the center of your being, to
the detriment of not only yourself but       115TH CONGRESS STAFF DEPOSI-                                7. Only the witness or the witness's per-
to the community, to those you are                                                                    sonal counsel may make objections during a
                                               TION AUTHORITY PROCEDURES                              deposition. Objections must be stated con-
sworn to serve. This is a very high bar,                  HOUSE OF REPRESENTATIVES,                   cisely and in a non-argumentative and non-
indeed, Mr. Speaker.                                                COMMIUEE ON RULES,                suggestive manner. A committee may punish
   I am reminded of the words of Sir                       WASHINGTON, DC, JANUARY 13, 2017.          counsel who violate these requirements by
Thomas More, who was the Lord High           Hon, PAUL D. RYAN,                                       censure, and by suspension or exclusion, ei-
Chancellor of England during the 16th        Speaker, House of Representatives,                       ther generally or in a particular investiga-
century. He strove to live a life worthy     Washington, DC.                                          tion, from further representation of clients
of excellence in public service. But in         MR. SPEAKER: Pursuant to section 3(b)(2) of House     before the committee. A committee may also
                                             Resolution 5, 115th Congress, I hereby submit the        cite the counsel to the House for contempt.
the end, he was put to death by the          following regulations regarding the conduct of deposi-   If the witness raises an objection, the deposi-
very state that he sought to so nobly        tions by committee and select committee staff for         tion will proceed, and testimony taken is
serve.                                       printing in the Congressional Record.                    subject to any objection. The witness may
   In an earlier reflection on the idea of          Sincerely,                                        refuse to answer a question only to preserve
 oath, Sir Thomas More had this to say:                                     PETE SESSIONS,            a testimonial privilege. When the witness
   "When a man takes an oath, he's                              Chairman, Committee on Rules.         has objected and refused to answer a ques-
 holding his own self in his own hands        115TH CONGRESS STAFF DEPOSITION AUTHORITY                tion to preserve a testimonial privilege, the
like water, and if he opens his fingers                       PROCEDURES                               chair of the committee may rule on any such
 then, he needn't hope to find himself         1. Notices for the taking of depositions                objection after the deposition has recessed.
                                             shall specify the date, time, and place of ex-            If the chair overrules any such objection and
 again."                                                                                               thereby orders a witness to answer any ques-
   Mr. Speaker, throughout that won-         amination (if other than within the com-
                                             mittee offices). Depositions shall be taken               tion to which a testimonial privilege objec-
 derful day last week of our swearing in                                                               tion was lodged, such ruling shall be filed
                                             under oath administered by a member or a
 here in the body, I was reflecting per-     person otherwise authorized to administer                with the clerk of the committee and shall be
 sonally on a singular word. That word       oaths.                                                    provided to the members and the witness no
 is replenishment.                             2. Consultation with the ranking minority               less than three days before the reconvened
   Our American system of governance         member shall include three days notice be-                deposition. If the witness or a member of the
 has an extraordinary capacity to re-        fore any deposition is taken. All members of              committee chooses to appeal the ruling of
 plenish itself with new ideas, new peo-     the committee shall also receive three days               the chair, such appeal must be made within
                                             notice that a deposition will be taken. For               three days, in writing, and shall be preserved
 ple, and refreshed perspectives. Our po-                                                              for committee consideration. A deponent
                                             purposes of these procedures, a day shall not
 litical system starts with the belief       include Saturdays, Sundays, or legal holi-                who refuses to answer a question after being
 that political power is derived from        days except when the House is in session on               directed to answer by the chair in writing
 each person's dignity.                      such a day.                                               may be subject to sanction, except that no
   By voting, citizens invest that very         3. Witnesses may be accompanied at a dep-              sanctions may be imposed if the ruling of the
 power in the Representatives that are       osition by personal, nongovernmental coun-                chair is reversed on appeal.
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January 13, 2017                          CONGRESSIONAL RECORD—HOUSE                                                                     11537
   8. Committee chairs shall ensure that the      such action may be reversed by a written re-      phibious assault vehicle programs (except
testimony is either transcribed or electroni-     quest of a majority of the members of the         strategic weapons, space, special operations,
cally recorded or both. If a witness's testi-     Committee.                                        science and technology programs, and infor-
mony is transcribed, the witness or the              RULE 3. SUBCOMMITTEE MEETING DATES
                                                                                                    mation technology programs), deep strike
witness's counsel shall be afforded an oppor-                                                       bombers and related systems, lift programs,
                                                     Each subcommittee is authorized to meet,       seaborne unmanned aerial systems and the
tunity to review a copy. No later than five       hold hearings, receive evidence, and report
days after a transcript is made available to                                                        associated weapons systems sustainment. In
                                                  to the Committee on all matters referred to
the witness, the witness may submit sug-                                                            addition, the subcommittee will be respon-
                                                  it. Insofar as possible, meetings of the Com-     sible for Maritime programs under the juris-
gested changes to the chair. Committee staff      mittee and its subcommittees shall not con-
may make any typographical and technical                                                            diction of the Committee as delineated in
                                                  flict. A subcommittee Chairman shall set          paragraphs 5 and 9 of clause 1(c) of rule X of
changes. Substantive changes, modifica-           meeting dates after consultation with the
tions, clarifications, or amendments to the                                                         the Rules of the House of Representatives.
                                                  Chairman, other subcommittee Chairmen,                Subcommittee on Strategic Forces: Stra-
deposition transcript submitted by the wit-       and the Ranking Minority Member of the
ness must be accompanied by a letter signed                                                         tegic weapons (except deep strike bombers
                                                  subcommittee with a view toward avoiding,         and related systems), space programs (in-
by the witness requesting the changes and a       whenever possible, simultaneous scheduling
statement of the witness's reasons for each                                                         cluding national intelligence space pro-
                                                  of Committee and subcommittee meetings or         grams), ballistic missile defense, the associ-
proposed change. Any substantive changes,         hearings.
modifications, clarifications, or amendments                                                        ated weapons systems sustainment, and De-
                                                    RULE 4. JURISDICTION AND MEMBERSHIP OF          partment of Energy national security pro-
shall be included as an appendix to the tran-           COMMITTEE AND SUBCOMMITTEES
script conditioned upon the witness signing                                                         grams.
the transcript.                                      (a) Jurisdiction                                   Subcommittee on Emerging Threats and
                                                     (1) The Committee retains jurisdiction of      Capabilities: Defense-wide and joint enabling
   9. The individual administering the oath, if   all subjects listed in clause 1(c) and clause
 other than a member, shall certify on the                                                          activities and programs to include: Special
                                                  3(b) of rule X of the Rules of the House of       Operations Forces; counter-proliferation and
transcript that the witness was duly sworn.       Representatives and retains exclusive juris-
The transcriber shall certify that the tran-                                                        counter-terrorism programs and initiatives;
                                                  diction for: defense policy generally, ongoing    science and technology policy and programs;
script is a true record of the testimony, and     military operations, the organization and re-
the transcript shall be filed, together with                                                        information technology programs; homeland
                                                  form of the Department of Defense and De-          defense and Department of Defense related
any electronic recording, with the clerk of       partment of Energy, counter-drug programs,
 the committee in Washington, DC. Deposi-                                                            consequence management programs; related
                                                  security and humanitarian assistance (ex-          intelligence support; and other enabling pro-
 tions shall be considered to have been taken     cept special operations-related activities) of
 in Washington, DC, as well as the location                                                          grams and activities to include cyber oper-
                                                  the Department of Defense, acquisition and         ations, strategic communications, and infor-
 actually taken once filed there with the
                                                  industrial base policy, technology transfer        mation operations; and the Cooperative
 clerk of the committee for the committee's       and export controls, joint interoperability,
 use. The chair and the ranking minority                                                             Threat Reduction program.
                                                  detainee affairs and policy, force protection         Subcommittee on Oversight and Investiga-
 member shall be provided with a copy of the      policy and inter-agency reform as it pertains
 transcripts of the deposition at the same                                                           tions: Any matter within the jurisdiction of
                                                  to the Department of Defense and the nu-           the Committee, subject to the concurrence of
 time.                                            clear weapons programs of the Department           the Chairman of the Committee and, as ap-
   10. The chair and ranking minority mem-        of Energy. In addition the committee will be
 ber shall consult regarding the release of                                                          propriate, affected subcommittee chairmen.
                                                  responsible for intelligence policy (including     The subcommittee shall have no legislative
 deposition transcripts and recordings. If ei-
                                                  coordination of military intelligence pro-         jurisdiction.
 ther objects in writing to a proposed release    grams), national intelligence programs, and
 of a deposition transcript or recording, or a                                                          (b) Membership of the Subcommittees
                                                  Department of Defense elements that are               (1) Subcommittee memberships, with the
 portion thereof, the matter shall be prompt-
                                                  part of the Intelligence Community. While          exception of membership on the Sub-
 ly referred to the committee for resolution.     subcommittees are provided jurisdictional          committee on Oversight and Investigations,
   11. A witness shall not be required to tes-    responsibilities in subparagraph (2), the
 tify unless the witness has been provided                                                           shall be filled in accordance with the rules of
 with a copy of Rule XI of the Rules of the       Committee retains the right to exercise            the Majority party's conference and the Mi-
                                                  oversight and legislative jurisdiction over all    nority party's caucus, respectively.
 House of Representatives and these proce-
                                                  subjects within its purview under rule X of           (2) The Chairman and Ranking Minority
 dures.                                           the Rules of the House of Representatives.         Member of the Subcommittee on Oversight
                                                      (2) The Committee shall be organized to        and Investigations shall be filled in accord-
                                                   consist of seven standing subcommittees            ance with the rules of the Majority party's
    PUBLICATION OF COMMITTEE                      with the following jurisdictions:                   conference and the Minority party's caucus,
              RULES                                   Subcommittee on Tactical Air and Land           respectively. Consistent with the party ra-
 RULES OF THE COMMITTEE ON ARMED SERVICES          Forces: All Army, Air Force and Marine             tios established by the Majority party, all
           FOR THE 115TH CONGRESS                  Corps acquisition programs (except Marine          other Majority members of the sub-
                                                   Corps amphibious assault vehicle programs,         committee shall be appointed by the Chair-
  Mr. THORNBERRY. Mr. Speaker, I respect-          strategic missiles, space, lift programs, spe-
fully submit the Rules of the Committee on                                                            man of the Committee, and all other Minor-
                                                   cial operations, science and technology pro-       ity members shall be appointed by the Rank-
Armed Services for the 115th Congress, as          grams, and information technology ac-              ing Minority Member of the Committee.
adopted by the committee on January 12,            counts) and the associated weapons systems           (3) The Chairman of the Committee and
2017.                                              sustainment. In addition, the subcommittee         Ranking Minority Member thereof may sit
          RULE 1. GENERAL PROVISIONS               will be responsible for Navy and Marine            as ex officio members of all subcommittees.
                                                   Corps aviation programs and the associated         Ex officio members shall not vote in sub-
  (a) The Rules of the House of Representa-        weapons systems sustainment, National
tives are the rules of the Committee on                                                               committee hearings or meetings or be taken
                                                   Guard and Army, Air Force and Marine               into consideration for the purpose of deter-
Armed Services (hereinafter referred to in
these rules as the "Committee") and its sub-       Corps Reserve modernization, and ammuni-           mining the ratio of the subcommittees or es-
                                                   tion programs.                                     tablishing a quorum at subcommittee hear-
committees so far as applicable.                       Subcommittee on Military Personnel: Mili-
  (b) Pursuant to clause 2(a)(2) of rule XI of                                                        ings or meetings.
                                                   tary personnel policy, Reserve Component              (4) A member of the Committee who is not
the Rules of the House of Representatives,         integration and employment issues, military
the Committee's rules shall be publicly                                                               a member of a particular subcommittee may
                                                   health care, military education, and POW/          sit with the subcommittee and participate
available in electronic form and published in      MIA issues. In addition, the subcommittee
the Congressional Record not later than 30                                                            during any of its hearings but shall not have
                                                   will be responsible for Morale, Welfare and        authority to vote, cannot be counted for the
days after the chair of the committee is           Recreation issues and programs.
elected in each odd-numbered year.                                                                    purpose of achieving a quorum, and cannot
                                                       Subcommittee on Readiness: Military            raise a point of order at the hearing.
     RULE 2. FULL COMMITTEE MEETING DATE           readiness, training, logistics and mainte-
                                                                                                      RULE 5. COMMITTEE PANELS AND TASK FORCES
   (a) The Committee shall meet every              nance issues and programs. In addition, the
 Wednesday at 10:00 am., when the House of         subcommittee will be responsible for all            (a) Committee Panels
 Representatives is in session, and at such        military construction, depot policy, civilian       (1) The Chairman may designate a panel of
 other times as may be fixed by the Chairman       personnel policy, environmental policy, in-       the Committee consisting of members of the
 of the Committee (hereinafter referred to as      stallations and family housing issues, includ-    Committee to inquire into and take testi-
 the "Chairman"), or by written request of         ing the base closure process, and energy pol-     mony on a matter or matters that fall with-
 members of the Committee pursuant to              icy and programs of the Department of De-         in the jurisdiction of more than one sub-
 clause 2(c) of rule XI of the Rules of the        fense.                                            committee and to report to the Committee.
 House of Representatives.                             Subcommittee on Seapower and Projection         (2) No panel appointed by the Chairman
                                                    Forces: Navy acquisition programs, Naval         shall continue in existence for more than six
   (b) A Wednesday meeting of thd Committee
 may be dispensed with by the Chairman, but        Reserve equipment, and Marine Corps am-           months after the appointment. A panel so
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


                                         )
IN RE SUBPOENA OF JAMES COMEY BY         )
AUTHORITY OF THE HOUSE OF                ) Case No. 1:18-mc-00174-TNM
REPRESENTATIVES OF THE CONGRESS OF THE   )
UNITED STATES OF AMERICA                 )
                                         )




                EXHIBIT I
 AUTHENTICATED
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U.S. GOVERNMENT
  INFORMATION
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                   H. Res. 5



                   In the House of Representatives, U. S.,
                                                              January 3, 2017.

                       Resolved, That the Rules of the House of Representa-
                   tives of the One Hundred Fourteenth Congress, including ap-
                   plicable provisions of law or concurrent resolution that con-
                   stituted rules of the House at the end of the One Hundred
                   Fourteenth Congress, are adopted as the Rules of the House
                   of Representatives of the One Hundred Fifteenth Congress,
                   with amendments to the standing rules as provided in section
                   2, and with other orders as provided in sections 3, 4, and 5.
                   SEC. 2. CHANGES TO THE STANDING RULES.

                        (a) DECORUM.-
                            (1) In clause 3 of rule II, add the following new
                       paragraph:
                            "(g)(1) The Sergeant-at-Arms is authorized and di-
                       rected to impose a fine against a Member, Delegate, or
                       the Resident Commissioner for the use of an electronic
                        device for still photography or for audio or visual record-
                       ing or broadcasting in contravention of clause 5 of rule
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              practicable) how the amendment proposes to change
              current law, showing by appropriate typographical
              devices the omissions and insertions proposed.
              "(b) If a committee reports a bill or joint resolu-
         tion, before the bill or joint resolution may be considered
         with text different from the text reported, there shall be
         made available on a publicly available website of the
         House a document that shows, by appropriate typo-
         graphical devices, the differences between the text of the
         bill or joint resolution as proposed to be considered and
         the text of the bill or joint resolution as reported.".
         (t) APPOINTMENT OF CH &IR.—Clause 1 of rule XVIII is
     amended by inserting   ",   Delegate, or the Resident Commis-
     sioner" after "Member".
     SEC. 3. SEPARATE ORDERS.
         (a) HOLIVIAN RULE.—During the first session of the One
     Hundred Fifteenth Congress, any reference in clause 2 of
     rule XXI to a provision or amendment that retrenches ex-
     penditures by a reduction of amounts of money covered by
     the bill shall be construed as applying to any provision or
     amendment (offered after the bill has been read for amend-
     ment) that retrenches expenditures by—
              (1) the reduction of amounts of money in the bill;
              (2) the reduction of the number and salary of the
         officers of the United States; or


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             (3) the reduction of the compensation of any person
         paid out of the Treasury of the United States.
         (b) STAFF DEPOSITION AUTHORITY.—
             (1) During the One Hundred Fifteenth Congress,
         the chair of a standing committee (other than the Com-
         mittee on House Administration or the Committee on
         Rules), and the chair of the Permanent Select Com-
         mittee on Intelligence, upon consultation with the rank-
         ing minority member of such committee, may order the
         taking of depositions, including pursuant to subpoena,
         by a member or counsel of such committee.
             (2) Depositions taken under the authority pre-
         scribed in this subsection shall be subject to regulations
         issued by the chair of the Committee on Rules and print-
         ed in the Congressional Record.
              (3) At least one member of the committee shall be
         present at each deposition taken under the authority
         prescribed in this subsection, unless—
                   (A) the witness to be deposed agrees in writing
             to waive this requirement; or
                   (B) the committee authorizes the taking of a
              specified deposition without the presence of a mem-
             ber during a specified period, provided that the
             House is not in session on the day of the deposition.




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